Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 1 of 96. PageID #: 412270




   DSJ1&2-PR Exh 562
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 2 of 96. PageID #: 412271
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 3 of 96. PageID #: 412272
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 4 of 96. PageID #: 412273
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 5 of 96. PageID #: 412274
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 6 of 96. PageID #: 412275
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 7 of 96. PageID #: 412276
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 8 of 96. PageID #: 412277
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 9 of 96. PageID #: 412278
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 10 of 96. PageID #: 412279
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 11 of 96. PageID #: 412280
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 12 of 96. PageID #: 412281
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 13 of 96. PageID #: 412282
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 14 of 96. PageID #: 412283
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 15 of 96. PageID #: 412284
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 16 of 96. PageID #: 412285
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 17 of 96. PageID #: 412286
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 18 of 96. PageID #: 412287
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 19 of 96. PageID #: 412288
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 20 of 96. PageID #: 412289
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 21 of 96. PageID #: 412290
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 22 of 96. PageID #: 412291
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 23 of 96. PageID #: 412292
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 24 of 96. PageID #: 412293
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 25 of 96. PageID #: 412294
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 26 of 96. PageID #: 412295
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 27 of 96. PageID #: 412296
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 28 of 96. PageID #: 412297
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 29 of 96. PageID #: 412298
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 30 of 96. PageID #: 412299
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 31 of 96. PageID #: 412300
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 32 of 96. PageID #: 412301
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 33 of 96. PageID #: 412302
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 34 of 96. PageID #: 412303
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 35 of 96. PageID #: 412304
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 36 of 96. PageID #: 412305
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 37 of 96. PageID #: 412306
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 38 of 96. PageID #: 412307
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 39 of 96. PageID #: 412308
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 40 of 96. PageID #: 412309
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 41 of 96. PageID #: 412310
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 42 of 96. PageID #: 412311
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 43 of 96. PageID #: 412312
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 44 of 96. PageID #: 412313
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 45 of 96. PageID #: 412314
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 46 of 96. PageID #: 412315
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 47 of 96. PageID #: 412316
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 48 of 96. PageID #: 412317
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 49 of 96. PageID #: 412318
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 50 of 96. PageID #: 412319
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 51 of 96. PageID #: 412320
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 52 of 96. PageID #: 412321
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 53 of 96. PageID #: 412322
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 54 of 96. PageID #: 412323
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 55 of 96. PageID #: 412324
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 56 of 96. PageID #: 412325
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 57 of 96. PageID #: 412326
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 58 of 96. PageID #: 412327
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 59 of 96. PageID #: 412328
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 60 of 96. PageID #: 412329
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 61 of 96. PageID #: 412330
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 62 of 96. PageID #: 412331
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 63 of 96. PageID #: 412332
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 64 of 96. PageID #: 412333
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 65 of 96. PageID #: 412334
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 66 of 96. PageID #: 412335
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 67 of 96. PageID #: 412336
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 68 of 96. PageID #: 412337
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 69 of 96. PageID #: 412338
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 70 of 96. PageID #: 412339
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 71 of 96. PageID #: 412340
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 72 of 96. PageID #: 412341
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 73 of 96. PageID #: 412342
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 74 of 96. PageID #: 412343
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 75 of 96. PageID #: 412344
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 76 of 96. PageID #: 412345
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 77 of 96. PageID #: 412346
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 78 of 96. PageID #: 412347
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 79 of 96. PageID #: 412348
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 80 of 96. PageID #: 412349
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 81 of 96. PageID #: 412350
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 82 of 96. PageID #: 412351
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 83 of 96. PageID #: 412352
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 84 of 96. PageID #: 412353
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 85 of 96. PageID #: 412354
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 86 of 96. PageID #: 412355
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 87 of 96. PageID #: 412356
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 88 of 96. PageID #: 412357
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 89 of 96. PageID #: 412358
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 90 of 96. PageID #: 412359
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 91 of 96. PageID #: 412360
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 92 of 96. PageID #: 412361
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 93 of 96. PageID #: 412362
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 94 of 96. PageID #: 412363
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 95 of 96. PageID #: 412364
Case: 1:17-md-02804-DAP Doc #: 2557-42 Filed: 08/30/19 96 of 96. PageID #: 412365
